                      Case 1:23-cr-00311-RDM Document 1 Filed 01/04/23 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
  Patrick O' Brien, (DOB: XXXXXXXXX)                                 )      Case No.
                                                                     )
                                                                     )
                                                                     )
                                                                     )
                          Defendant


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                                in the
                     LQWKH'LVWULFWRI          &ROXPELD , the defendants violated:
            Code Section                                                    Offense Description
          18 U.S.C. § 1752(a)(1) - Entering and Remaining in a Restricted Building or Grounds
          18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building
          40 U.S.C. § 5104(e)(2)(D) - Disorderly Conduct on Capitol Grounds;
          40 U.S.C. § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in Capitol Building.




         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                       Stephanie Fillinger, Special Agent
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                     Digitally signed by
                                                                                                     G. Michael Harvey
Date:             1/4/2023
                                                                                                  Judge’s signature

City and state:                         :DVKLQJWRQ'&                          G. Michael Harvey, U.S. Magistrate Judge
                                                                                               Printed name and title
